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           EXHIBIT 3
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   1                      UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
   2
            * * * * * * * * * * * * * * *
   3
            ELIZABETH SINES, et al.,             *      CASE NO.
   4                                                    3:17-cv-00072-NKM
                        Plaintiffs,              *
   5        v.
                                                 *
   6        JASON KESSLER, et al.,
                                                 *
   7                 Defendants.
            * * * * * * * * * * * * * * *
   8
         Pursuant to the Order for the Production of Documents
   9     and Exchange of Confidential Information in this case,
         all testimony shall presumptively be treated as
  10     Confidential Information and subject to the order during
         the testimony and for a period of thirty (30) days after
  11     a transcript of said testimony is received by counsel
         for each of the parties. At or before the end of such
  12     thirty day period, the testimony shall be classified
         appropriately.
  13
  14     DEPONENT:          JASON KESSLER, VOLUME II OF II
  15     DATE:              MAY 16, 2018
  16     TIME:              9:15 A.M.
  17     LOCATION:          U.S. DISTRICT COURT
                            WESTERN DIVISION
  18                        255 WEST MAIN STREET
                            CHARLOTTESVILLE, VIRGINIA
  19
         REPORTED BY:       KIMBERLY L. RIBARIC, RPR, CCR
  20
  21
  22
  23
                           Veritext Legal Solutions
  24                          Mid-Atlantic Region
                        1250 Eye Street NW - Suite 350
  25                        Washington, D.C. 20005

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   1                     MS. KAPLAN:       I just -- I'm just going to say

   2           something at the beginning.             We understand the

   3           courthouse is going to be much busier today than it

   4           was yesterday, and this is easy for me, because I'm

   5           not saying anything, but they have requested that we

   6           all try to keep the volume a little bit lower today

   7           or maybe significantly lower today than yesterday

   8           because of the activity in the courthouse.                  And I

   9           said we would do that.

  10                                        - - -

  11                       CONTINUED DIRECT EXAMINATION

  12     BY MR. LEVINE:

  13             Q.      Mr. Kessler, you -- you and Eli Mosley were

  14     the principal coordinators for the Unite the Right rally

  15     on August 11 and 12, 2017; correct?

  16             A.      Yes.

  17             Q.      And Mr. Mosley set up the Discord channel,

  18     correct?

  19             A.      No.    A woman named Erica did.

  20             Q.      Working within -- from Identity Evropa?

  21             A.      She started it up and then later transferred

  22     the -- like, the ownership of the thing to him.

  23             Q.      And you were designated event coordinator?

  24             A.      Yes.

  25             Q.      And you used Discord principally to

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